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                                 #:4196




                          EXHIBIT 16
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                                 #:4197

 From:           Calvin Ho
 To:             Advisor; Kaine Wen; Tom Nguyen
 Subject:        DAP Flowchart
 Date:           Sunday, March 03, 2019 11:00:00 PM
 Attachments:    DAP Flowchart.pdf


 Please see attached for DAP Flowchart




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                                            #:4198


                                             DAP FlowChart




                                                                   DAP
                                                                                                 Processing
Enrolled client    1       Debt Pay Pro            2          (GateWay + DAP           3         company
                                                                 combined)


                                             DPP auto sends
                                              PoW to DAP



                           Proof of Work                                  6                           4
                          submitted to DPP         5




                                                                     Once PoW
                                                                    veriﬁed, DAP
                                                                   verify merchant

                                                                                               DAP's merchant
                                                                                                  account
                                                                                               (hold CL funds)




                                                                               Release Funds

                           Our merchant                        7




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                                 #:4200

 From:          Calvin Ho
 To:            "Thu Quach"; Keneth Hu; Khanh Truong; Long Le; Thien Nguyen
 Subject:       TAS
 Date:          Monday, March 11, 2019 7:12:00 PM
 Attachments:   Trusted Account Services.docx




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        TAS – Trusted Account Services Functions
   1.   Transaction Report:
            a. Customer View:
            • Merchant Account ID
            • Company Name
            • Paid Amount
            • Pending Payment
            • Refund Amount
            • Release/Payout Amount
            b. Internal View:
            • Deposit Summary:
                     o Batch Amount
                     o Deposit
                     o Adjustment
                     o Reserves
                     o Net Deposit
   2.   CC/ACH Payment:
            a. Charge
            b. Refund
            c. Void
   3.   Options Setting:
            a. API Configuration
            b. Card ID verification
            c. Address Verification
            d. Settlement Schedule
            e. Transaction Routing
   4.   Pre-chargeback & Chargeback Alert:
   5.   Proof of Work Upload
   6.   Client Profile/Database:
            a. Full Name (First, Last Name)
            b. CC/DB Card
            c. DPP ID
            d. Address
            e. Uploaded Files
            f. Contracts
   7.   Client’s View
   8.




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                          EXHIBIT 18
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                                 #:4203

 From:              Kaine Wen
 To:                Donald Cook; Calvin Ho; Calvin Ho; Tom Nguyen; Thien Nguyen
 Cc:                "Rey Pasinli"
 Subject:           Re: Closure of Horizon processing account....
 Date:              Friday, April 12, 2019 2:50:39 AM
 Attachments:       image004.png
                    image005.png
                    image003.png



 Hi Donald,

 The new application has been submitted under "TAS 2019 LLC".



 Best,

 Kaine Wen


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 From: Donald Cook <donald@todaypayments.com>
 Sent: Thursday, April 4, 2019 12:50:55 PM
 To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'
 Subject: RE: Closure of Horizon processing account....

 Hi Kaine,

 Sorry for the inconvenience.

 We have to await the opening of the “Accommodator” account for testing….

 Don
 Donald@TodayPayments.com
 (866) 927-7180
 (603) 947-5197 – eFax




 From: Kaine Wen [mailto:kwen@slaccountmgmt.com]
 Sent: Thursday, April 04, 2019 2:14 AM
 To: Donald Cook; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'


                                                                                                                  EXHIBIT 18
                                                                                                                    Page 87
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                                 #:4204

 Subject: Re: Closure of Horizon processing account....


 Hi Don,

 Can you keep the Horizon account open so we can continue testing? Don't worry, we are
 working on getting the new application in. I'm not sure if you can view it but I have it mostly
 completed - just waiting on the bank account information.



 Best,

 Kaine Wen

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 From: Donald Cook <donald@todaypayments.com>
 Sent: Wednesday, April 3, 2019 1:18:24 PM
 To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'
 Subject: RE: Closure of Horizon processing account....

 Good afternoon Kaine,

 The account has seen $-0- processing since inception and we haven’t heard from you for several
 weeks.

 Just “cleaning up the ledgers”….

 We are standing ready to receive your new application and processing account!

 Respectfully,

 Don
 Donald@TodayPayments.com
 (866) 927-7180
 (603) 947-5197 – eFax




 From: Kaine Wen [mailto:kwen@slaccountmgmt.com]
 Sent: Wednesday, April 03, 2019 1:07 PM
 To: Donald Cook; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'


                                                                                                                                                          EXHIBIT 18
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                                  #:4205

 Subject: Re: Closure of Horizon processing account....


 Hi Don,

 Why is the Horizon ACH account closed?

 We are in the process of submitting the new application, just waiting on the business bank
 account to be set up.



 Best,

 Kaine Wen

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 From: Donald Cook <donald@todaypayments.com>
 Sent: Wednesday, April 3, 2019 9:05:32 AM
 To: Kaine Wen; Calvin Ho; 'Calvin Ho'; Tom Nguyen; Thien Nguyen
 Cc: 'Rey Pasinli'
 Subject: RE: Closure of Horizon processing account....

 Good morning Gentlemen,

 Your Horizon processing account has been closed.

 Sincerely,

 Don
 Donald@TodayPayments.com
 (866) 927-7180
 (603) 947-5197 – eFax




                                                                                                                                                          EXHIBIT 18
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                          EXHIBIT 19
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                                  #:4207

 From:                 Michael T
 To:                   Kaitlyn Dorsey
 Cc:                   Calvin Ho; Kaine Wen; Carrie Brown; Advisor; Tom Nguyen
 Subject:              Re: Integration with Trusted Account Services
 Date:                 Wednesday, June 19, 2019 5:47:05 PM
 Attachments:          image001.png
                       image002.png



 Hi Kaitlyn,

 I sent you the signed documents. Let me know if there's anything else.

 Thanks you,

 Michael Tabin
 Chief Technology Officer


 Trusted Account Services
 30 N Gould St, Ste R
 Sheridan, WY 82801
 t: (307) 200-2961
 e: michaelt@trustedaccountservices.com



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 From: Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
 Sent: Friday, June 14, 2019 11:27:32 AM
 To: Michael T
 Cc: Calvin Ho; Kaine Wen; Carrie Brown; Advisor; Tom Nguyen
 Subject: Re: Integration with Trusted Account Services

 Hi Michael,

 I have attached the updated scope below. Kaine mentioned your company will be the ones
 being invoiced and paying? If this is correct, I will also attach our CC Form below as well.

 Thank you!

 Kaitlyn Dorsey
 Software Specialist
 kaitlyn@debtpaypro.com




 Phone: (855)874-8222 x109
 Sales: (630)394-6260



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                                  #:4208
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 http://www.debtpaypro.com


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 On Wed, Jun 12, 2019 at 11:24 AM Kaitlyn Dorsey <kaitlyn@debtpaypro.com> wrote:
  Hi All,

    I am waiting on the Team to review the documentation so I can update our scope to resend
    your way. I will be in touch shortly.

    Kaitlyn Dorsey
    Software Specialist
    kaitlyn@debtpaypro.com




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    Sales: (630)394-6260
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    On Wed, Jun 12, 2019 at 11:24 AM Michael T <michaelt@trustedaccountservices.com>
    wrote:
     Hi Mr Calvin,

       Full API Documentation was sent to Kaitlyn.

       Thanks,



       Michael Tabin
       Chief Technology Officer


       Trusted Account Services
       30 N Gould St, Ste R
       Sheridan, WY 82801


                                                                                                                                              EXHIBIT 19
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                                  #:4209

    t: (307) 200-2961
    e: michaelt@trustedaccountservices.com



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    can ensure such a mistake does not occur in the future.


    From: Calvin Ho <calvin@financialpreparationservices.com>
    Sent: Monday, June 10, 2019 11:57:19 PM
    To: Kaitlyn Dorsey; Michael T
    Cc: Kaine Wen; Carrie Brown; Advisor; Tom Nguyen
    Subject: RE: Integration with Trusted Account Services

    Hi Michael,

    Have you sent fully updated API Documentation to Kaitlyn yet?

    Hi Kaitlyn,

    Can you guys expedite this for us instead of 20 days?

    From: Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
    Sent: Tuesday, June 4, 2019 8:58 AM
    To: Michael T <michaelt@trustedaccountservices.com>
    Cc: Kaine Wen <kwen@slaccountmgmt.com>; Calvin Ho
    <calvin@financialpreparationservices.com>; Carrie Brown <carrie@debtpaypro.com>;
    Advisor <advisor@financialpreparationservices.com>; Tom Nguyen
    <tom@slaccountmgmt.com>
    Subject: Re: Integration with Trusted Account Services

    HI Michael,

    Thank you for sending, I need to take this back to the team to update our original scope. It
    looks like the only thing added is the "GET transaction/create" - I don't see any updates on
    here regarding ACH transactions which I know you mentioned in the previous email you
    were going to update that.

    The api documentation, is this final? No more updates needed? I rather make sure now
    before we have to go back and forth with a new scope / timeline. I know this is pretty
    urgent for them.

    Thanks,

    Kaitlyn DorseySoftware Specialist kaitlyn@debtpaypro.com



    Phone: (855)874-8222 x109
    Sales: (630)394-6260



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                                  #:4210
    Fax: (800) 694 3530

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    On Mon, Jun 3, 2019 at 2:24 PM Michael T <michaelt@trustedaccountservices.com>
    wrote:

               Hi Kaitlyn,

               Attached is an updated copy of our API. We included API for requesting transaction
               status. Please review.

               Thank you,

               Michael Tabin
               Chief Technology Officer

                                                   T: (307) 200-2961
                                                  michaelt@trustedaccountservices.com
                                                  www.trustedaccountservices.com
                                                  30 N Gould St, Ste R Sheridan, WY 82801




               From: Kaine Wen <kwen@slaccountmgmt.com>
               Sent: Thursday, May 30, 2019 6:32:59 PM
               To: Kaitlyn Dorsey; Michael T
               Cc: Calvin Ho; Carrie Brown; Advisor; Tom Nguyen
               Subject: Re: Integration with Trusted Account Services

               Hi Kaitlyn,

               Please invoice Trusted Account Services for their integration development. Thank you.


               Best,

               Kaine Wen

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                                  #:4211

      From: Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
      Sent: Thursday, May 30, 2019 10:01:20 AM
      To: Michael T
      Cc: Calvin Ho; Carrie Brown; Kaine Wen; Advisor; Tom Nguyen
      Subject: Re: Integration with Trusted Account Services

      Michael,

      Sounds good, we will update our scope and quote for Calvin once we receive your
      updated documentation.

      Thanks!

      Kaitlyn DorseySoftware Specialist kaitlyn@debtpaypro.com



      Phone: (855)874-8222 x109
      Sales: (630)394-6260
      Fax: (800) 694 3530

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      On Wed, May 29, 2019 at 6:15 PM Michael T <michaelt@trustedaccountservices.com>
      wrote:

                 Carrie,

                 I spoke with Keneth from Calvin's team regarding adding new API for getting
                 transaction statuses. Also, we'll be updating transaction/create API to be able to
                 process ACH transactions.



                 Thank you,

                 Michael Tabin
                 Chief Technology Officer

                                                      T: (307) 200-2961
                                                     michaelt@trustedaccountservices.com
                                                     www.trustedaccountservices.com
                                                     30 N Gould St, Ste R Sheridan, WY 82801




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                                  #:4212


        From: Calvin Ho <calvin@financialpreparationservices.com>
        Sent: Tuesday, May 28, 2019 1:36:53 PM
        To: Carrie Brown
        Cc: Michael T; Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen; Kaitlyn
        Dorsey
        Subject: RE: Integration with Trusted Account Services

        Hi Carrie,

        Perfect. Thanks Carrie.

        Please keep me posted.

        Best regards,


        From: Carrie Brown <carrie@debtpaypro.com>
        Sent: Tuesday, May 28, 2019 1:06 PM
        To: Calvin Ho <calvin@financialpreparationservices.com>
        Cc: Michael T <michaelt@trustedaccountservices.com>; Kaine Wen
        <kwen@slaccountmgmt.com>; DebtPayPro Support <support@debtpaypro.com>;
        Advisor <advisor@financialpreparationservices.com>; Tom Nguyen
        <tom@slaccountmgmt.com>; Kaitlyn Dorsey <kaitlyn@debtpaypro.com>
        Subject: Re: Integration with Trusted Account Services

        Hi Calvin,

        We have a scope and quote. Kaitlyn in sales is finalizing the proposal and will reach
        out soon to review.'

        Regards,

        Carrie BrownClient Success Manager
        carrie@debtpaypro.com




        Phone: (855) 874 8222 x.115

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        On Thu, May 23, 2019 at 1:00 PM Carrie Brown <carrie@debtpaypro.com> wrote:
         Hi Calvin,


                                                                                                                                        EXHIBIT 19
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                                  #:4213

          We just recently received the API documentation and it is being reviewed by
          development. No work has or will be started on it until a scope and quote are
          complete and a proposal for the work is signed off on. Please feel fre to contact me
          if you have any questions but this is our standard integration procedure.

          Regards,

          Carrie BrownClient Success Manager
          carrie@debtpaypro.com




          Phone: (855) 874 8222 x.115

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          On Thu, May 23, 2019 at 12:55 PM Calvin Ho
          <calvin@financialpreparationservices.com> wrote:
            Hi Carrie and Michael,

                     How’s everything with the integration? When can we start using TAS? Do you
                     guys have any timeframes for that ? Do you guys need anything from us?

                     Please let me know if we can help with anything else.

                     Best regards,

                     From: Carrie Brown <carrie@debtpaypro.com>
                     Sent: Wednesday, May 8, 2019 1:29 PM
                     To: Calvin Ho <calvin@financialpreparationservices.com>
                     Cc: Michael T <michaelt@trustedaccountservices.com>; Kaine Wen
                     <kwen@slaccountmgmt.com>; DebtPayPro Support
                     <support@debtpaypro.com>; Advisor
                     <advisor@financialpreparationservices.com>; Tom Nguyen
                     <tom@slaccountmgmt.com>
                     Subject: Re: Integration with Trusted Account Services

                     Michael,

                     Actually, if it's going to be NMI we'd like to get a VAR sheet instead of
                     credentials. If it's Auth.net then credentials are all we need.

                     Thank you,

                     Carrie BrownClient Success Manager


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                                  #:4214
            carrie@debtpaypro.com




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            On Tue, May 7, 2019 at 3:38 PM Carrie Brown <carrie@debtpaypro.com>
            wrote:
              No, not for this meeting. Thanks Calvin!

                       On Tue, May 7, 2019, 1:15 PM Calvin Ho
                       <calvin@financialpreparationservices.com> wrote:
                         Hi Carrie,

                                  Do you want us to join the meeting as well ?

                                  Best regards,

                                  From: Michael T <michaelt@trustedaccountservices.com>
                                  Sent: Monday, May 6, 2019 5:19 PM
                                  To: Carrie Brown <carrie@debtpaypro.com>
                                  Cc: Calvin Ho <calvin@financialpreparationservices.com>; Kaine Wen
                                  <kwen@slaccountmgmt.com>; DebtPayPro Support
                                  <support@debtpaypro.com>; Advisor
                                  <advisor@financialpreparationservices.com>; Tom Nguyen
                                  <tom@slaccountmgmt.com>
                                  Subject: Re: Integration with Trusted Account Services

                                  1:00pm on Wednesday will work.

                                  From: Michael T
                                  Sent: Monday, May 6, 2019 5:15:15 PM
                                  To: Carrie Brown
                                  Cc: Calvin Ho; Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen
                                  Subject: Re: Integration with Trusted Account Services

                                  Yes, that will be fine.

                                  Thank you.

                                  From: Carrie Brown <carrie@debtpaypro.com>
                                  Sent: Monday, May 6, 2019 10:04:33 AM

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               To: Michael T
               Cc: Calvin Ho; Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen
               Subject: Re: Integration with Trusted Account Services

               Hi Michael,

               I am out of the office at appointments until Wednesday. I could do 9:00 or
               1:00 PST on Wednesday. If one of those times works I'll send out a meeting
               invite to block the time.

               Regards,

               Carrie BrownClient Success Manager
               carrie@debtpaypro.com




               Phone: (855) 874 8222 x.115

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               On Mon, May 6, 2019 at 8:49 AM Michael T
               <michaelt@trustedaccountservices.com> wrote:
                Carrie,

                          You can contact me at (307) 200-2961.

                          Lets schedule a meeting for tomorrow (5/7) 1:00pm MDT.

                          From: Carrie Brown <carrie@debtpaypro.com>
                          Sent: Friday, May 3, 2019 1:20:57 PM
                          To: Calvin Ho; Michael T
                          Cc: Kaine Wen; DebtPayPro Support; Advisor; Tom Nguyen
                          Subject: Re: Integration with Trusted Account Services

                          Michael,

                          What phone number can I reach you to discuss this?

                          Regards,

                          Carrie BrownClient Success Manager
                          carrie@debtpaypro.com




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                 transmission is STRICTLY PROHIBITED. If you have received this transmission in error, please
                 immediately notify the sender. Please destroy the original transmission and its attachments without reading
                 or saving in any manner.




                 On Thu, May 2, 2019 at 5:16 PM Calvin Ho
                 <calvin@financialpreparationservices.com> wrote:
                   Hi Carrie,

                            Here is Michael contact: michaelt@trustedaccountservices.com

                            Best regards,

                            From: Carrie Brown <carrie@debtpaypro.com>
                            Sent: Thursday, May 2, 2019 2:25 PM
                            To: Calvin Ho <calvin@financialpreparationservices.com>
                            Cc: Kaine Wen <kwen@slaccountmgmt.com>; DebtPayPro Support
                            <support@debtpaypro.com>; Advisor
                            <advisor@financialpreparationservices.com>; Tom Nguyen
                            <tom@slaccountmgmt.com>
                            Subject: Re: Integration with Trusted Account Services

                            Thanks, Calvin!

                            Do you have contact info?

                            Carrie BrownClient Success Manager
                            carrie@debtpaypro.com




                            Phone: (855) 874 8222 x.115

                            DebtPay Inc
                            1900 E Golf Rd, Suite 550
                            Schaumburg, IL 60173
                            http://www.debtpaypro.com
                            Facebook      LinkedIn




                            CONFIDENTIALITY NOTICE: This e-mail transmission, and any documents, files or previous e-mail
                            messages attached to it may contain confidential information that is legally privileged. If you are not the
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                            notified that any disclosure, copying, distribution or use of any of the information contained in or
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                   On Thu, May 2, 2019 at 12:05 PM Calvin Ho
                   <calvin@financialpreparationservices.com> wrote:
                     Hi Carrie,

                     You can reach out for Micheal Tabin.

                     Please let me know if there are anything that I can help.

                     Best regards,

                     From: Carrie Brown <carrie@debtpaypro.com>
                     Sent: Thursday, May 2, 2019 9:52 AM
                     To: Calvin Ho <calvin@financialpreparationservices.com>
                     Cc: Kaine Wen <kwen@slaccountmgmt.com>; DebtPayPro Support
                     <support@debtpaypro.com>; Advisor
                     <advisor@financialpreparationservices.com>; Tom Nguyen
                     <tom@slaccountmgmt.com>
                     Subject: Re: Integration with Trusted Account Services

                     Hi Calvin,

                     Thanks for sending this over. Is there a person there you've been
                     working with that I can ask reach out to specifically?

                     On Wed, May 1, 2019, 6:06 PM Calvin Ho
                     <calvin@financialpreparationservices.com> wrote:
                       Hi Carrie,

                       Here is the website from Trusted Account Services:
                       https://trustedaccountservices.com/

                       Contact from Trusted Account Services:
                       technicalsupport@tasportal.com

                       Let me know if you need any other information.

                       Best regards,

                       From: Carrie Brown <carrie@debtpaypro.com>
                       Sent: Wednesday, May 1, 2019 6:43 AM
                       To: Kaine Wen <kwen@slaccountmgmt.com>
                       Cc: DebtPayPro Support <support@debtpaypro.com>; Advisor
                       <advisor@financialpreparationservices.com>; Tom Nguyen
                       <tom@slaccountmgmt.com>; Calvin Ho
                       <calvin@financialpreparationservices.com>
                       Subject: Re: Integration with Trusted Account Services

                       Hi Kaine,


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                      What is the website for this company? Is there a direct contact
                      there I can speak with?

                      On Wed, May 1, 2019, 3:56 AM Kaine Wen
                      <kwen@slaccountmgmt.com> wrote:
                        Dear Support,

                        Please provide detailed answers and explanations to the
                        following questions from Trusted Account Services. We are
                        testing out their dedicated account provider services (same
                        services as Reliant Account Management or Account
                        Management Plus). Thank you in advance.


                           1. How can we integrate with DPP?
                           2. Do you have any document that details what
                              information we need to receive from DPP's end or pass to
                              DPP from our end?
                           3. Do you have any API to use for integration?
                           4. How can we manage the transactions and clients between
                              our systems and DPP?



                        Best,

                        Kaine Wen

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                        (if any) are intended exclusively for the above named addressee(s) and
                        intended to be privileged and confidential. If they have come to you in error,
                        please immediately notify the sender about the error and delete all copies of
                        this e-mail correspondence along with its attachments. Thank you.




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 From:            Long Le
 To:              Calvin Ho
 Subject:         Tas questions for DPP
 Date:            Wednesday, April 24, 2019 2:22:09 PM


 Hi a,

 Day la cau hoi cua em va a Thinh.

     1. How can we integrate with DPP? Do you guys have any document that help us to know which
        info that we need to receive from your end or pass to yours from our end?
     2. Do you have any API to use for integration?
     3. How can we manage the transactions and clients between our systems and DPP?




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    TOTAL

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                      BA.LANCE BROUGHT FORWARD


                                                                T.AS 2019 LLC
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                                                                Huntington Beach, CA 92647

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 From:             Thien Nguyen
 To:               Keneth Hu
 Subject:          RE: ACH Processing using Green
 Date:             Tuesday, April 23, 2019 2:22:01 PM


 Yes. But not for FPS. We will contact them again as TAS.


 From: Keneth Hu <khu@financialpreparationservices.com>
 Sent: Tuesday, April 23, 2019 1:58 PM
 To: Thien Nguyen <thien@slaccountmgmt.com>
 Subject: RE: ACH Processing using Green

 Is this still one of your options?


 From: Thien Nguyen <thien@slaccountmgmt.com>
 Sent: Monday, April 8, 2019 12:03 PM
 To: Keneth Hu <khu@slaccountmgmt.com>; Keneth Hu <khu@financialpreparationservices.com>
 Cc: Khanh Truong <ktroung@financialpreparationservices.com>
 Subject: FW: ACH Processing using Green

 Hi Keneth,
 Could you skim through the documents? We’re trying to find a new processing company. This is one
 that I found that is provide lots of details on contract and how to post API. Please give me your
 thought.
 Thanks,
 Thien Nguyen
 From: Frank Lewis <frankl@ncms-inc.com>
 Sent: Monday, April 8, 2019 11:15 AM
 To: Thien Nguyen <thien@slaccountmgmt.com>
 Subject: FW: ACH Processing using Green


 Thien
 I talked with the head underwriting and he is all in to get this done. He looked at your website and
 his comment was this is the first website that is doing this correctly.
 Give me a call and I will work through this with you.

 Frank Lewis
 Independent Account Executive
 National Cash Management Systems
 www.ncms-inc.com
 6850 TPC Drive | Suite 208 | McKinney, Texas 75070
 Toll Free 877.370.9645 x 100 | Direct 214.544.2245 x 100
 Cell 972.880.8997 | Company Fax 214.544.2246




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                          EXHIBIT 24
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                                  #:4231

 From:              Keneth Hu
 To:                Kaine Wen
 Subject:           RE: QUANTUM HORIZON CONSULTANTS - PSLC APPLICATION
 Date:              Tuesday, December 11, 2018 9:47:28 AM
 Attachments:       Quantum Horizon Consultants - PSLC.pdf


 Signed



 From: Kaine Wen <kwen@slaccountmgmt.com>
 Sent: Monday, December 10, 2018 11:35 PM
 To: Keneth Hu <khu@slaccountmgmt.com>
 Subject: Fw: QUANTUM HORIZON CONSULTANTS - PSLC APPLICATION


 Please sign on page 6 (twice) and page 7.



 Kaine Wen
 SL Account Mgmt

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 above named addressee(s) and intended to be privileged and confidential. If they have come to you in error,
 please immediately notify the sender about the error and delete all copies of this e-mail correspondence along with
 its attachments. Thank you.




 From: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
 Sent: Monday, December 10, 2018 11:09 PM
 To: Kaine Wen; Tom Nguyen
 Subject: QUANTUM HORIZON CONSULTANTS - PSLC APPLICATION

 Please review for accuracy, sign, and return.

 Thanks,

 Jimmy Lai
 President
 Swift Payments
 Office: (949) 596-7550
 Mobile: (949) 302-3248
 Fax:     (949) 328-7535



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 communication in error, please immediately notify us by return e-mail, and destroy this communication and all
 copies thereof, including all attachments.




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                                               #:4233 MERCHANT PROCESSING APPLICATION & AGREEMENT
                                                                                             PAGE 1




1. GENERAL INFORMATION | BUSINESS LOCATION INFORMATION | BUSINESS STRUCTURE                                              Sales Agent ID:


                                                                                   8 Whatney, Ste 100, #8
   Client Business Name (Doing Business As)                                    Location Address (physical location)
   Irvine                               CA                       92618                    1-855-757-7727
   City                                 State                    Zip                      Location Phone                        Location Fax
   1-855-757-7727                                          www.slaccountmgt.com                                       info@slaccountmgmt.com
  Customer Service Phone                               Business Website Address                                       Business Email

   Horizon Consultants LLC                                                         2522 Chambers Rd, Ste 100, Rm 209
   Client Corporate Name/Legal Name                                            Corporate Address (if different than location)
   Tustin                              Ca                   92780                  Kaine Wen                           +1 855-757-7727
   City                                State               Zip                     Contact Name                       Contact Phone


   Fed Tax ID                          Tax Filing Name (if different)                              Prior Security Breach? Yes       No



   Date Business Started                    Send Retrieval/Chargeback Requests to: Corporate Address                            Location Address


   Multiple Locations?           Yes        No      If Yes, enter # of locations                   Additional Location to existing MID

   Indicate Company Structure:
          Sole Prop       Partnership             C Corp             S Corp    501 C/Tax Ex          LLC/LLP         Govt. (Local/State/Federal)

   State Filing
                  CA                                   I certify that I am a foreign entity/nonresident alien (If checked, please attach IRS Form W-8)

   NOTE: Failure to provide accurate information may result in a withholding of merchant funding per: IRS regulations (See Part IV, Section A.3
   of your Program Guide for further information)


2. BANKING ACCOUNT INFORMATION AND MEMBER BANK DISCLOSURE


   Bank Name
                                                                                          Visa and MasterCard Member Bank Information as indicated
                                                                                                below by agent: Commercial Bank of California
   Bank Phone

   Routing #          122228003

   Account #

   ACH Method:            Combined                         Individual
                                                                                                   Mailing Address: 19752 MacArthur Blvd.,
                                                                                                                    Suite 100, Irvine, CA 92612
   (Must be a checking account. Savings accounts are not permitted.)




  Prior Bankruptcies?       Yes              No            If Yes:      Business                     Personal

  Date Discharged


3. TRADE REFERENCE


 Trade Reference Business Name                                                         Contact

 Business Address                                                                      Telephone

 City                    State                       Zip                               Account No.



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4. OWNERS | PARTNERS | OFFICERS                 #:4234
                                                                                              OWNER | PARTNER | OFFICER 1

Name
         Keneth Hu                                                           Title
                                                                                           Owner                                                    % Ownership*
                                                                                                                                                                               100                Guarantor** Yes               No

Home Address
                   2522 Chambers Rd, Ste 100, Rm 209
                                                                                                       City
                                                                                                                    Tustin                                                  State
                                                                                                                                                                                    Ca                                  Zip
                                                                                                                                                                                                                                92780
                                 | PARTNER | OFFICER 3                                                                                                                                                        khu@slaccountmgmt.com
Cell Phone                                         Social Security                                                                          Date of Birth                                   Email Address

                                                                                              OWNER | PARTNER | OFFICER 2
 Name                                                                         Title                                                                  % Ownership*                                  Guarantor** Yes              No

 Home Address                                                                                           City                                                                State                                        Zip
                      OWNER | PARTNER | OFFICER 3
 Cell Phone                                         Social Security                                                                          Date of Birth                                  Email Address

                                                                                              OWNER | PARTNER | OFFICER 3

 Name                                                                         Title                                                                  % Ownership*                                 Guarantor** Yes               No

 Home Address                                                                                          City                                                                 State                                        Zip
                      OWNER | PARTNER | OFFICER 3
 Cell Phone                                         Social Security                                                                          Date of Birth                                  Email Address

                                                                                              OWNER | PARTNER | OFFICER 4

Name                                                                         Title                                                                  % Ownership*                                  Guarantor** Yes               No

Home Address                                                                                           City                                                                 State                                       Zip
                      OWNER | PARTNER | OFFICER 3
Cell Phone                                         Social Security                                                                          Date of Birth                                   Email Address




 * Each individual who owns, directly or indirectly through any contract, arrangement, understanding relationship or otherwise, 25% or more of the equity interests of
   the Client, or who is the Client’s sole proprietor, must be added.

 ** A control prong owner means a “beneficial owner” who is a single individual (e.g. Chief Executive Officer, Chief Financial Officer, Chief Operating Officer, Managing
    Member, General Partner, President, Vice President, Treasurer) with significant responsibility to control, manage, or direct Client’s legal entity. The control prong
    owner must also serve as the Guarantor in connection with the Merchant Processing Agreement.



5. NATURE OF BUSINESS | TRANSACTION INFORMATION


  Business Type:                Retail                                        Restaurant                                 Healthcare                              Lodging                 Supermarket                 Government

                                Internet                                      QSR                                        Education                              Utilities                 Petroleum                  Charity/Non Profit

                                B2B                                           Mail / Telephone Order                                                           Other


 Requested Monthly V/MC/DS Card Volume                                                American Exp Monthly Volume                                                          Card Present Swiped           %      Sales to Consumers
                                                                                                                                                                                                                                      100    %

                                                                                                                                                                           Card Present Keyed            %
 Requested Average V/MC/DS Card Ticket                                                American Exp Average Ticket                                                                                              Sales to Business              %
                                                                                                                                                                           MOTO                   100    %
 Requested Highest Payment Card Ticket                                                                                                                                                                         Sales to Govt.                %
                                                                                                                                                                           Internet (Ecommerce)          %


 Seasonal Merchant: Yes    No          Months Closed                                                                       Previous Processor
                                                                                                                                                            National Merchant Center
                                                                                                                                                                                         Reason For Leaving
                                                                                                                                                                                                              Currently Processing

 Has the Merchant or Owner been terminated from accepting payment cards from any payment network for this business or any other business? Yes                                                                                        No

 If yes, please explain the reason for termination:



 Description of Products or Services Sold:

 Describe your Return Policy:
                                 Full refund (no questions asked) if the client's enrollment is not approved, or if company makes a material mistake in the application.
                                                                                                                                                            Days to delivery        31-90 days




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6. SERVICE ACCEPTANCE | FEE SCHEDULES AND OTHER CARD TYPES                                                                                                                         PAGE 3
                                                  #:4235
  Request to Accept Card Types:                                                                                                Select VI/MC/Discover Network
                                                                                                                               Discount Plan:
                Visa Credit                MasterCard Credit                  Discover Network              PIN Debit
                                                                                                                                       Tiered Basic                   Pass Through
                Visa Debit                 MasterCard Debit                   AMEX Network
                                                                                                                                       I/C Flat Rate                  CDP Flat Rate


    Assessments & Brand Fees: Included                     Billed Separately                   Requested Discount Payment Method:                   Daily              Monthly


                  DISCOUNT FEES: Visa, MasterCard, Discover, Pin Debit                                                   American Express OPT Blue or AMEX Direct

                                                                                                               Opt Blue Discount Plan:                        AMEX Direct:
  Tiered                %       Per Item          Pass Through                     %          Per Item
                                                                                                                 Tiered Basic                            Order New No.
Qualified                                                                                                                                                Existing SE No.
                                            Pass Through IC+ =                                                   Pass Through Program
Discount =                                                                                                       Pricing                              Use Existing
Mid Qual =                                                                                                                                            Cap No.
                                            Debit PassThrough IC+ =                                              Flat Rate
(Qual+)                                                                                                                                     (Flat fee of $7.95 or Discount Rate may apply)

Non Qual =                                  Pin Debit Pass Through+ =                                                                                %                  Per Item
(Qual+)
Debit Qual                                          Flat Rate                      %                           Credit Qual =
Discount =
                                                                                                               Credit Mid-Qual =
Debit Mid Qual =                            Flat Rate =
(Qual+)                                                                                                        Credit Non-Qual =
Debit Non Qual =
                                            Debit Flat Rate =
(Qual+)                                                                                                        Pass Through IC =



                                                               Authorization, Monthly AND Miscellaneous Fees


   Authorization & Per Item Fees                          Monthly Fees                                    Miscellaneous Fees                                 Gateway Fees
   Visa/MC/Discover Networks         $                    Monthly Service          $
                                                                                       20.00             Chargeback Fee        $                         Gateway Setup Fee
                                                                                                         (Per Occurrence)
                                                                                       250.00                                                                150.00
   AMEX/Fleet/Other                  $                    Monthly Minimum          $                     Retrieval Fee         $                         $
                                                                                                         (Per Occurrence)
   Pin Debit                         $                    Wireless Fee             $                                                                     Gateway Monthly Fee
                                                                                                         ACH Reject Fee        $   30.00
                                                                                                         (Per Occurrence)                                $
                                                                                                                                                             25.00
   EBT                               $                    Pin Debit Monthly        $
                                                                                                         Annual Fee            $
                                                                                                                                   199.00
   FCS#                                                   EBT Monthly              $                                                                     Gateway Transaction Fee
                                                                                                                         December
                                                                                       35.00             Month to Bill                                       0.25
   Electronic AVS                    $                    PCI Non-Compliance       $                                                                     $
                                                                                                                                   250.00
                                         1.00                                          3.95              PCI Annual Fee        $
   Voice Auth                        $                    Govt Compliance          $                                                                     Gateway Batch Fee
                                         1.25                                                            Risk Monitoring       $
                                                                                                                                   50.00                     0.10
   Voice AVS                         $                    TIN Mis-Match                                                                                  $
                                                          (until validated)        $   49.00
                                                                                                         POS Software          $
   Sales Transaction Fee             $
                                                                                                                                   200.00
                                         0.50             Licensing Fee            $                     SPM Setup Fee         $
   Return Transactions               $
                                                          PCI Monthly Fee          $   20.00             SPM Monthly Fee $         200.00
   Batch Fee                        $
   (Per Item)                                                                          14.95
                                                          Security Software        $
   Micros Fee                       $
   (Per Transaction)


 Association fees will be passed through to the merchant. Fees include, but are not limited to, Visa’s FANF and APF, Acqr ISA and MasterCard’s NABU, Acqr Support,
 Cross Border Fee and Discover IPF, ISF, Data Usage, AMEX Network, AMEX Non-Swipe, AMEX downgrade, Assessments (MC,Visa Credit,Visa Debit, Discover,MC >
 $1,000), MC AVS Acqr Access (CNP), MC AVS Acqr Access, MC License, MC KiloByte, Visa AFD Partial Auth, Non Participant, Visa File Transmission, MC CVC2, DISC
 Network Auth, Visa Acqr Processing (CR), Visa International Acqr, Visa Acqr International Service Assessment, Visa Misuse Auth, Visa Zero Floor, MC Digital Enablement,
 MC Reversal, Visa Return Data Processing (CR & DB), Visa Acqr Data Processing (Debit), Visa Tran Integrity, Visa Network Part CT, Visa Network CNP. Association fees are
 set by Associations and are subject to change from time to time.

 0.30% non-swiped transaction fee will be charged by American Express for transactions whenever a CNP or Card Not Present Charge occurs. CNP means a charge which
 the card is not presented at the point of purchase (e.g., Charges by mail, telephone, fax or the Internet). Note: The CNP Fee is applicable to all transactions made on all
 American Express Cards, including Prepaid Cards.

 An inbound fee of 0.40% will be applied on any Charge made using a Card, and including Prepaid Cards that was issued outside the United States (As used herein the
 United States does not include Puerto Rico, Virgin Islands and other US Territories and possessions).

      By checking this box, Guarantor opts out of receiving future commercial marketing communications from American Express. Note that you may continue to receive
 marketing communications while American Express updates its records to reflect your choice. Opting out of commercial marketing communications will not preclude you
 from receiving important transactional relationship messages from American Express.




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      Next Day Funding* $
                              5.00
                                     Per Month: *NDF is subject to approval and all POS Device batch(es) must be closed by 4:30pm PST/7:30pm
 EST Monday-Saturday and by 3pm PST/6pm EST on Sunday. All payments are provisional and are subject to, including but not limited to:
 additional fees, chargebacks, withholding, set off, security and reserve rights. Processor or Bank will not be liable for any delay in receipt of
 funds, fees for any delays, or errors in debit and credit entries caused by third parties, including by not limited to, any Association or your
 financial institution.
 In the event that this Agreement is terminated early, Merchant will be responsible for the payment of a $ 495 Early Termination Fee in
 accordance with Part III Section A.3. of the Merchant Program Guide. In the event QEP is unable to price match a competitor offer for similar
 services in the future, QEP will waive Merchant’s ETF. QEP reserves the right to verify proposal and activation.

     Merchant Club: The representative has explained the Merchant Club program to me and I elect to opt out of the program. I understand
 I can opt into the program at any time and beneﬁt from the program, which includes equipment support and replacement per terminal/
 peripheral (where applicable), as well as great discounts for items such as car rentals, hotels, office supplies, health and legal services and
 more for my company and employees for an additional fee of $14.95 per month. Initials:

7. EQUIPMENT | PROCESSING METHOD


  Application Type: Retail            Retail w/Tip    MOTO         Quick Serve Restaurant (no tip)       Restaurant w/Tip        Hotel      Auto Rental




                                                      Terminal Features: Choose Desired Functions


  Fraud Check (last 4-digits)                   Purchasing Card               Time Zone                                      IP Connection

  AVS + CVV2                                    Server / Clerk #              Auto Close                                     Dial
                                                                              If yes, what time?
  EBT Food Stamps                               Order Gift Card                                                              Wireless

  EBT Cash Benefit                                                            Wireless MAN/Serial
                                                Invoice / PO #                                                               Special Request
  ACH / Check Services                                                        SIM Card #
                                                CDP Discount



       TYPE OF EQUIPMENT                                 PRODUCT NAME                       QUANTITY                           DEPLOYMENT

   Terminal     Pin Pad     Printer      VAR*        Quantum Gateway                   1                          Existing     Agent      New Order (Attach Form)


   Terminal     Pin Pad     Printer      VAR*                                                                     Existing     Agent      New Order (Attach Form)


   Terminal     Pin Pad     Printer      VAR*                                                                     Existing     Agent      New Order (Attach Form)


 * Manufacturer/product/version of PC/Internet Software:              NMI


 Do you use any third party to store, process or transmit cardholder data?            Yes              No
 If yes, please provide name/address:



  For software or VAR users, by checking yes below MERCHANT certifies that it has used a certified Qualified Integrator or Reseller (QIR) to install or
  re-program MERCHANT’s software systems. Notwithstanding MERCHANT’s use of a QIR as described herein above, MERCHANT acknowledges that is,
  and shall remain, fully responsible for compliance with PCI-DSS standards at all times in accordance with the Program Terms and Conditions (Program
  Guide).
                Yes               No


8. SITE INSPECTION (COMPLETED BY SALES AGENT)


 I have personally conducted a Site Inspection for this merchant, visually inspected the merchant’s inventory (if applicable), verified the merchant’s
 payment application is PA-DSS (Payment Application Data Security Standards) validated (if applicable) and represent that the information in this
 merchant application is accurate, as to the best of my knowledge. I am subject to criminal penalties and/or financial losses for false or misleading
 information.
 Sales Agent Name (printed)                                                       Signature


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9. CARD NOT PRESENT INFORMATION              #:4237
 If you process more than 20% of your bankcard transactions or volume, without swiping, and/or examining the credit card, please
 complete this section:
       1. Please submit your product catalog; brochures; promotional materials; a current price list; and a copy of your service agreement
          with card holder, if applicable. If on the internet, please include screen-prints of your website address if your site is not active yet.
       2. If internet, please check your type of business: Selling Hard Goods                           Digital Products                    Services

              Other:


       3. How will the product be advertised or promoted?
                                                                    Internet

      4. How often will you bill your customer?             Monthly   100      %       Yearly   100      %     One Time             %

       5. List the name(s) and address(es) of the vendors(s) from which supplies are purchased:


       6. Who performs product/service fulfillment? If direct from vendor, please provide vendor name, address and phone number in full:


       7. Please describe how a sale takes place from beginning of order until completion of fulfillment:




10. SIGNATURES


 Client certifies that all information set forth in this completed Merchant Processing Application is true and correct and that Client has received a copy of
 the version of the Program Guide stated on this Merchant Processing Application which includes the Processor & Bank Confirmation Page (“Confirma-
 tion Page”), which Confirmation Page is hereby incorporated by reference into this Merchant Processing Application and Agreement. Client acknowl-
 edges and agrees that we, our Affiliates and our third-party subcontractors and/or agents may use automatic telephone dialing systems to contact
 Client at the telephone number(s) Client has provided in this Merchant Processing Application and/or may leave a detailed voice message in the event
 that Client is unable to be reached, even if the number provided is a cellular or wireless number or if Clients has previously registered on a Do Not Call
 list or requested not to be contacted for solicitation purposes. Client hereby consents to receiving commercial electronic mail messages from us, our
 Affiliates and our third-party subcontractors and/or agents from time to time. Client further agrees that Client will not accept more than 20% of its
 card transactions via mail, telephone or internet order. However, if your Application is approved based upon contrary information stated in Section 7
 you are authorized to accept transactions in accordance with the percentages indicated in that section. Client, and each individual signing below on
 behalf of the Client or as Guarantor, authorizes Quantum Electronic Payments (“Processor) and Commercial Bank of California (“Bank”) and their
 respective agents to investigate the references, statements and other data contained herein and to obtain additional information from credit bureaus
 and other lawful sources, including persons and companies named in this Merchant Processing Application. Client, and each individual signing below
 on behalf of the Client or as Guarantor, authorizes Processor and Bank and their respective agents (a) to procure information from any credit reporting
 agency bearing on Client’s credit standing, credit capacity, general reputation, or characteristics, and to obtain consumer reports from consumer
 reporting agencies on each individual signing below on behalf of Client or as a Guarantor (if such individual asks Processor or Bank whether such a
 report was requested, Processor or Bank will tell such individual and if Processor or Bank requests a report, Processor or Bank will give such individual
 the name and address of the agency that furnished it), and (b) to contact all previous references. Client also authorizes us and our Affiliates to provide
 amongst each other the information contained in the Merchant Processing Application and Agreement and any information received from all referenc-
 es, including banks and credit reporting agencies.

 Client authorizes Processor and Bank and their affiliates to debit Client’s designated bank account via Automated Clearing House (ACH) for costs
 associated with the equipment hardware, software and shipping.

 Client certifies and agrees that Client does not and will not provide, offer or facilitate gambling services, including offering or facilitating internet
 gambling services, or establishing quasi-cash, credit or monetary value of any type that may be used to conduct gambling.

 CIP - Card Identiﬁcation Program - IMPORTANT INFORMATION ABOUT PROCEDURES FOR OPENING A NEW ACCOUNT
 To help the government fight the funding of terrorism and money laundering activities, Federal law requires all financial institutions to obtain, verify, and
 record information that identifies each person who opens an account. What this means for you: When you open an account, we will ask for your name,
 address, date of birth, and other information that will allow us to identify you. We will also ask for a copy of your driver’s license or other identifying
 documents.

 Client certifies, under penalties of perjury, that the federal taxpayer identification number and corresponding filing name provided herein are correct.
 Client agrees to all terms of this Merchant Processing Application and Agreement. This Merchant Processing Application and
 Agreement shall not take effect until Client has been approved and this Agreement has been accepted by Processor and Bank.




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Certiﬁcation of Beneﬁcial Owner(s)
Persons opening an Account on behalf of a legal entity must provide the following information:

a. Name and title of natural person opening Account,
b. Name, address and entity type of legal entity for which the account is being opened as provided in section 2,
c. The following information (Name, Date of Birth, Address, and a Social Security Number for a US person or, for a non-US person, a Social Security
Number or unexpired alien ID card number, or the number and country of issuance of an unexpired passport or other government-
issued document evidencing nationality or residence and bearing a photograph or similar safeguard) for each individual, if any, who, directly or
indirectly, through any contract, arrangement, understanding, relationship or otherwise, owns 25 percent or more of the equity interests of the legal
entity (provided in Section 4 above), and
d. The following information (Name, Date of Birth, Address, and a Social Security Number for a US person or, for a non-US person, a Social Security
Number or unexpired alien ID card number, or the number and country of issuance of an unexpired passport or other government-
issued document evidencing nationality or residence and bearing a photograph or similar safeguard) for one individual (referred to herein as the
“control prong” for purposes of the FinCen Rule) with significant responsibility for managing the legal entity listed on the Merchant Processing Applica-
tion and Agreement such as: An executive officer or senior manager (e.g., Chief Executive Officer, Chief Financial Officer, Chief Operating Officer,
Managing Member, General Partner, President, Vice President, Treasurer), or any other individual who regularly performs similar functions. The under-
signed individual opening the Account on behalf of the Client legal entity, has identified the Guarantor as the “control prong” for the Client legal entity,
and the Guarantor, by his or her signature below acknowledges that he or she is so regarded.


I, the signer and person opening this Account, hereby certify that I am authorized to open accounts for the Client at financial institutions, and, to the
best of my knowledge, that the information provided on this Merchant Processing Application and Agreement is complete and correct. Client agrees to
all the terms of this Merchant Processing Application and Agreement. This Merchant Processing Application and Agreement shall not take effect until
Client has been approved and this Agreement has been accepted by Processor and Bank. Client certifies, under penalties of perjury, that the federal
taxpayer identification number and corresponding filing name provided herein are correct.
Client’s Business Principal/Ofﬁcer


Signature                                          Title
                                                           Owner                Signature                                    Title

Print Name                                         Date    12/11/18             Print Name                                   Date


Personal Guarantee
In exchange for Quantum Electronic Payments, LLC (“Processor”) AND Commercial Bank of California (“Bank”) (the Guaranteed Parties) acceptance of
the Merchant Processing Application and Agreement with the Client named therein (which Merchant Processing Application and Agreement is hereby
incorporated by reference into this Personal Guaranty), the undersigned unconditionally and irrevocably guarantees the full payment and performance
of Client’s obligations under the foregoing agreements, as applicable, as they now exist or as modified from time to time, whether before or after
termination or expiration of such agreements and whether or not the undersigned has received notice of any
amendment of such agreements. The undersigned waives notice of default by Client and agrees to indemnify the Guaranteed Parties for any and all
amounts due from Client under the foregoing agreements. The Guaranteed Parties shall not be required to first proceed against Client to enforce any
remedy before proceeding against the undersigned. This is a continuing personal guaranty and shall not be discharged or affected for any reason. The
undersigned understands that this is a Personal Guaranty of payment and not of collection and that the
Guaranteed Parties are relying upon this Personal Guaranty in entering in to the foregoing agreements, as applicable. The undersigned authorizes
Processor and Bank, and their respective agents, (a) to investigate the references, statements, and other data contained in the Merchant Processing
Application and to obtain additional information (including, but not limited to, consumer credit reports) from credit bureaus, consumer reporting
agencies and other lawful sources bearing on his or her personal credit worthiness, credit standing, credit capacity, character, general reputation,
personal characteristics, mode of living (if the undersigned asks Processor or Bank whether a consumer report was requested, Processor or Bank will tell
such person, and if a report was requested will provide the name and address of the agency which furnished the report), and (b) to contact all previous
employers, personal references, and educational institutions as well as to provide amongst each other, the information contained in the Merchant
Processing Application as well as any information received from references including banks and consumer reporting agencies. If the Application is
approved, the undersigned authorizes Processor and Bank to obtain subsequent consumer reports in connection with the maintenance, updating,
renewal or extension of the Agreement.

Signature                                                          Print Name                                     Title   Owner
Accepted By Processor                                                             Accepted By Commercial Bank of California
625 The City Drive S. #420, Orange, CA 92868                                      19752 MacArthur Blvd., Suite 100, Irvine, CA 92612

Signature                                                                         Signature


Title                                       Date                                  Title                                      Date




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                                      PART IV: CONFIRMATION PAGE

   ISO INFORMATION:                                Name: Quantum Electronic Payments LLC
                                                   Address: 625 The City Drive S. #420, Orange, CA 92868


   Please read the Program Guide in its entirety. It describes the terms under which we will provide merchant processing Services to you.
                               Program Guide: https://www.quantumelectronicpayments.com/2018-program-guide/
   From time to time you may have questions regarding the contents of your Agreement with Bank and/or Processor. The following information
   summarizes portions of your Agreement in order to assist you in answering some of the questions we are most commonly asked.

   1. Your Discount Rates are assessed on transactions that qualify for certain reduced interchange rates imposed by Visa, MasterCard,
   American Express and/or Discover. Any transactions that fail to qualify for these reduced rates will be charged an additional fee.
   2. We may debit your bank account from time to time for amounts owed to us under the Agreement.
   3. There are many reasons why a Charge-back may occur. When they occur we will debit your settlement funds or settlement account. For a
   more detailed discussion, see the Chargebacks Section of the Program Guide.
   4. If you dispute any charge or funding, you must notify us within 60 days of the date of the statement where the charge or funding appears
   for Card Processing.
   5. The Agreement limits our liability to you. For a detailed description, see the Limitation of Liability section of the Program Guide.
   6. We have assumed certain risks by agreeing to provide you with Card processing or check services. Accordingly, we may take certain
   actions to mitigate our risk, including termination of the Agreement, and/or hold monies otherwise payable to you, under certain
   circumstances as described in the Term, Events of Default, Reserve Account, and Security Interest sections of the Program Guide.
   7. By executing this Agreement with us you are authorizing us and our Affiliates to obtain financial and credit information regarding your
   business and the signers and guarantors of the Agreement until all your obligations to us and our Affiliates are satisfied.
   8. The Agreement contains a provision that in the event you terminate the Agreement prior to the expiration of your term, you will be
   responsible for the payment of an early termination fee as set forth in the "Additional Fee Information" section of the Program Guide.
   9. You may elect to lease equipment from Processor or third parties under a separate lease agreement not included in the Program Guide.
   Notwithstanding anything to the contrary herein, Commercial Bank of California neither sells nor leases any equipment to Client and has no
   responsibility or liability for equipment you obtain through Processor or from others
   10. For questions regarding your Merchant Processing Application and Agreement, please contact Customer Service at 1-888-858-1678,
   and /or refer to Important Phone Numbers on the Additional Important Information Page.
   11. Card Organization Disclosure
   Visa and MasterCard Member Bank Information: Commercial Bank of California
   The Bank’s mailing address is 19752 MacArthur Blvd., Suite 100, Irvine, CA 92612, and its phone number is (310) 882-4800.
   Important Member Bank Responsibilities:
   a) The Bank is the only entity approved to extend acceptance of Visa and MasterCard products directly to a Merchant.
   b) The Bank must be a principal party to the Merchant Agreement.
   c) The Bank is responsible for educating Merchants on pertinent Visa and MasterCard rules with which Merchants must comply; but this
   information may be provided to you by Processor.
   d) The Bank is responsible for and must provide settlement funds to the Merchant.
   e) The Bank is responsible for all funds held in reserves that are derived from settlement.
   Important Merchant Responsibilities:
   a) Ensure compliance with Cardholder data security and storage requirements.
   b) Maintain fraud and Chargebacks below Card Organization thresholds.
   c) Review and understand the terms of the Merchant Agreement.
   d) Comply with Card Organization rules and applicable law and regulations.
   e) Retain assigned copy of this Disclosure Page.
   f) You may download “Visa Regulations from Visa’s website at: http://usa.visa.com/merchants/operations/op_regulations.html
   g) You may download “MasterCard Regulations” from MasterCard’s website at: http://www.mastercard.com/us/merchant/support/rules/html

   Print Client’s Business Name:
   By its signature below, Client acknowledges that it has received (either in person, by facsimile, or by electronic transmission) the complete
   Program Guide including this conﬁrmation.

   Client further acknowledges reading and agreeing to all terms in the Program Guide, which shall be incorporated into Client’s Agreement.
   Upon receipt of a signed facsimile or original of this Confirmation Page by us, Client’s Application will be processed. Client understands that a
   copy of the Program Guide is also available for downloading from the Internet using the Program Guide link above.

                               NO ALTERATIONS OR STRIKE-OUTS TO THE PROGRAM GUIDE WILL BE ACCEPTED.

   Client’s Business Principal: Signature                                                Title   Owner
   Print Name of Signer                                                                  Date    12/11/18

                              Accepted By Commercial Bank of California 19752 MacArthur Blvd., Suite 100, Irvine, CA 92612

   Signature                                               Title                                            Date                     EXHIBIT 24
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    NATIONAL MERCHANT CENTER
    2955 E MAIN STE 100
    IRVINE, CA
    926124



                                                                          MERCHANT STATEMENT
    1428  0100  1100            01                                   SUMMARY OF BANKCARD DEPOSITS
    MERCHANT NUMBER             5101               5962                   MONTH ENDING 02/28/2019



           HORIZON CONSULTANTS LLC                                      114838          07


           RIVERSIDE CA 92505-2776

                                                                                                                 STUDENTLOANMGMT

                                                                                                                 RIVERSIDE CA 92505-2776
           ATDTDATDTTTAAFDAFTFTADFDDADDFDFADAFFATTTFDDFADDDTAAFDADAFDADDDATF




    CUSTOMER SERVICE TEL #: 800-662-8448
0




              TOTAL CHARGE TO YOUR ACCOUNT IS                                                                                                               17,915.77

                                                                         SUMMARY OF CARD DEPOSITS

       CARD TYPE                                 SALES                                                     RETURNS                                                       NET
                                              ADJUSTMENTS                                                  EXCL ADJ
       MASTERCARD                       145                       20,903.24                          3                         447.00                                    20,456.24
                                          0                            0.00                          1 -                       207.50 -
       MC OFLN DB                       705                      103,656.02                         24                       4,614.89                                    99,041.13
       AMEXCT043                         42                        5,588.37                          5                       1,037.50                                     4,550.87
       VISA                             222                       32,555.24                          6                       1,160.50                                    31,394.74
                                          0                            0.00                          4 -                       652.50 -
       VS OFLN DB                     2,262                      338,857.25                         47                       9,769.18                                   329,088.07
       DCVR ACQ                          34                        5,214.97                          1                         207.50                                     5,007.47
       BANKCD TOT                     3,368                      501,186.72                         81                      16,199.07                                   484,987.65
                                          0                            0.00                          5                         860.00 -

       TOTAL                          3,410                      506,775.09                         86                      17,236.57                                   489,538.52
                                          0                            0.00                          5 -                       860.00 -

           TOTAL RESERVE AMOUNT                                                                                                                                         181,434.38



                                                                      SUMMARY OF INTERCHANGE FEES

    INTERCHANGE                                                                RATE          ITEM              COUNT                   VOLUME                       FEE
    MASTERCARD
      MERIT 1                                                                   .0189         .10                      69                    9,482.05                   186.14
      CREDIT REFUND 3                                                           .0195                                   3   -                  447.00   -                 8.72     -
      WC MERIT 1                                                                .0205         .10                      25                    3,499.01                    74.20
      WCELITE MERIT1                                                            .0250         .10                       9                    1,603.68                    41.01
      ENHANCEDMERIT 1                                                           .0204         .10                      28                    4,313.83                    90.81
      HIGHVAL MERIT 1                                                           .0250         .10                       2                      239.17                     6.18
      REGCORPDATA1LF                                                            .0005         .22                       2                       80.00                     0.48
      CP RATE 1 BUS                                                             .0265         .10                      10                    1,685.50                    45.67
    MC OFLN DB
      MERIT 1 DEBIT                                                             .0160         .15                     353                  53,457.20                    908.23
      DEBIT REFUND 3                                                            .0140                                  15   -               3,190.38    -                44.73     -
      MERIT1PREPDDBTC                                                           .0176         .20                      34                   5,228.75                     98.78
      REGREFUND USFA                                                                                                    9   -               1,424.51    -
      REGULATDMIDMT1                                                            .0005         .21                       7                     606.67                       1.77
      REGULATFMIDMT1                                                            .0005         .22                     311                  44,363.40                      90.47
    AMEXCT043
      B2BNSWP1                                                                  .0185         .10                      35                    4,064.50                     78.69
      PPNSWP2                                                                   .0200         .10                       7                    1,523.87                     31.17
      OPTREFND                                                                                                          5   -                1,037.50   -
    VISA
       CPS MAIL PHONE                                                           .0180         .10                      45                    6,427.75                   120.19

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                                              SUMMARY OF INTERCHANGE FEES

INTERCHANGE                                      RATE          ITEM      COUNT                    VOLUME                          FEE
   EIRF CR                                        .0230         .10                1                  207.50                          4.87
   US CRDT VCR-ME                                 .0205                            6   -            1,160.50       -                 23.79     -
   CPS REWARDS 2                                  .0195         .10              121               16,260.53                        329.18
   US BUS TR1 B2B                                 .0210         .10                3                  277.50                          6.12
   US VSP B2B                                     .0210         .10               48                8,865.46                        190.97
   US BUS TR3 B2B                                 .0240         .10                2                   60.00                          1.64
   LAC SPR PREMIUM                                .0197                            1                  207.50                          4.08
   US BUS TR4 B2B                                 .0250         .10                1                  249.00                          6.32
VS OFLN DB
   CPS CARD NP DB                                 .0165         .15              637               96,634.22                       1,690.01
   EIRF DB                                        .0175         .20               12                2,572.25                          47.41
   US CV DB                                                                       47   -            9,769.18       -
   CPS CNP PP                                     .0175         .20               80               15,411.53                        285.70
   EIRF PP                                        .0180         .20                3                  654.00                         12.37
   USREGULATED CNP                                .0005         .22             1484              215,499.45                        434.23
   USREGULATEDEIRF                                .0005         .22               18                3,661.80                          5.79
   INTR STANDARD                                  .0160                            1                  239.00                          3.82
   US BUS CNP DB                                  .0245         .10                4                  478.32                         12.11
   REG BUS CNP DB                                 .0005         .22               20                3,042.68                          5.92
   REG BUS ST DB                                  .0005         .22                3                  664.00                          0.99
DCVR ACQ
  P CNP RW                                        .0197         .10               21                 3,121.32                         63.57
  CMRCL EL                                        .0230         .10                7                 1,129.00                         26.66
  CMADJVR1                                        .0225                            1   -               207.50      -                   4.67    -
  PCNPPRM                                         .0200         .10                1                    40.00                          0.90
DCVR AQ DB
  P CNP DB                                        .0175         .20                4                     717.15                       13.35
  P CNP DF                                        .0005         .22                1                     207.50                        0.32
  TOTAL INTERCHANGE                                                                                                                4,838.20

                                                 SUMMARY OF CARD FEES
MASTERCARD
  DISC 1                                            20,903            0.02000                                      418.06
  OTHER ITEM FEES                                      148            0.10730                                       15.88
  DUES & ASSESSMENTS                                                                                                28.06

AUTHS & AVS
  CPU GTWY                                           1,158            0.1500                                       173.70
  AVS CPU-G                                          1,100            0.1000                                       110.00
  INTERCHANGE                                                                                                      444.49
  LICENSE RATE                                   20,903.24            0.0000710                                      1.48
  NABU FEES                                          1,103            0.01950                                       21.51
  BIN ICA FEE                                                                                                        1.13
  MC ICA AVS CARD NOT PRSNT                          1,100            0.01000                                       11.00
  MC CVC2 FEE                                        1,080            0.00250                                        2.70
  MC DIGITAL ENABLEMENT                         124,559.26            0.00010                                       12.46
  MC KILOBYTE FEE                                      447            0.00350                                        1.56
  LOCATION FEE                                                                                                       1.25
 TOTAL                                                                                                                             1,243.28
MC OFLN DB
  DISC 1                                           103,656            0.02000                                     2,073.12
  OTHER ITEM FEES                                      729            0.10730                                        78.22
  DUES & ASSESSMENTS                                                                                                139.05
  INTERCHANGE                                                                                                     1,099.25
  LICENSE RATE                                  103,656.02            0.0000710                                       7.36
  NABU FEES                                             24            0.01950                                         0.47
  BIN ICA FEE                                                                                                         5.49
 TOTAL                                                                                                                             3,402.96
AMEXCT043
  DISC 1                                             5,588
  OTHER ITEM FEES                                       47            0.10723                                           5.04
  OTHER VOLUME FEES                               4,550.87            0.02000                                          91.02
AUTHS & AVS
  CPU GTWY                                                67          0.1500                                        10.05
  AVS CPU-G                                               62          0.1000                                         6.20
  INTERCHANGE                                                                                                      109.87

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                                                   SUMMARY OF CARD FEES
      NETWORK FEE                                   5,588.37           0.00450                            25.15
     TOTAL                                                                                                             247.33
    VISA
       DISC 1                                         32,555           0.02000                           651.10
       OTHER ITEM FEES                                   228           0.10728                            24.46

    AUTHS & AVS
      CPU GTWY                                           279           0.1500                             41.85
      AVS CPU-G                                          272           0.1000                             27.20
      INTERCHANGE                                                                                        663.41
      ACQ ISA FEE                                     207.50           0.00800                             1.66
      ACQR PROCESSOR FEES                                279           0.01950                             5.44
      INTERNTL ACQUIRER FEE                           207.50           0.00448                             0.93
      TRAN INTEGRITY FEE                                   1           0.10000                             0.10
      FIXED NETWORK CNP FEE                                2                                             160.00
      BIN ICA FEE                                                                                          0.22
      CR DUES AND ASSESS                           32,555.24           0.00140                            45.58
      FILE TRANSMISSION FEE                                                                                4.58
0




     TOTAL                                                                                                            1,626.53
    VS OFLN DB
       DISC 1                                        338,857           0.02000                       6,777.15
       OTHER ITEM FEES                                 2,309           0.10730                         247.76
    AUTHS & AVS
      CPU GTWY                                         2,942           0.1500                          441.30
      AVS CPU-G                                        2,878           0.1000                          287.80
      INTERCHANGE                                                                                    2,498.37
      ACQ ISA FEE                                     239.00           0.00799                           1.91
      ACQR PROCESSOR FEES                              2,942           0.01550                          45.60
      INTERNTL ACQUIRER FEE                           239.00           0.00451                           1.08
      TRAN INTEGRITY FEE                                  37           0.10000                           3.70
      BIN ICA FEE                                                                                        2.26
      ACQ DATA PROC RTN D                                                                                0.73
      DB DUES AND ASSESS                          338,857.25           0.00130                         440.51
     TOTAL                                                                                                           10,748.17
    DCVR ACQ
      DISC 1                                           5,215           0.02000                           104.30
      OTHER ITEM FEES                                     35           0.10733                             3.76

    AUTHS & AVS
      CPU GTWY                                             39          0.1500                              5.85
      AVS CPU-G                                            38          0.1000                              3.80
      INTERCHANGE                                                                                        104.80
      DSCV DATA USAGE FEE                                  35          0.01950                             0.68
      DISC NETWORK AUTH FEE                                38          0.00250                             0.10
     TOTAL                                                                                                              223.29
    TOTAL CARD FEES                                                                                                  17,491.56


                                               SUMMARY OF MISCELLANEOUS FEES

    TOTAL CARD FEES                                                                                                  17,491.56
    BATCH HEADER                                           28                    0.3000                                   8.40
    RETURNS                                                86     AT             0.1500                                  12.90
    CHARGEBACKS                                             5     AT             35.000                                 175.00
    SERVICE FEE                                                                                                          20.00
    REGULATORY FEE                                                                                                        4.95
    ANNUAL FEE                                                                                                           99.00
    WIRELESS FEE                                                                                                         15.00
    COMPLIANCE FEE                                                                                                        3.96
    MERCHANT CLUB                                                                                                        50.00
    AMEX DISPUTE                                            1     AT             35.00000                                35.00


            TOTAL CHARGES                                                                                            17,915.77




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NATIONAL MERCHANT CENTER
5101       5962
MONTH ENDING 02/28/2019
Page 4


                                                    SUMMARY OF MONETARY BATCHES

                                                                  BATCHES

                 GROSS                               R&C                              NET                 DATE                  REF
                         40.00 -                       0.00                             40.00 -            01/27          021019MOADJ
                       207.50 -                        0.00                           207.50 -             02/04          022119MOADJ
                  12,755.92                            0.00                      12,755.92                 02/04          98003541603
                      3,440.98                         0.00                          3,440.98              02/04          98003541604
                      5,525.87                         0.00                          5,525.87              02/04          98003541605
                         73.72 -                       0.00                             73.72 -            02/05          98003641612
                      5,149.46                         0.00                          5,149.46              02/05          98003641613
                      4,573.34                         0.00                          4,573.34              02/06          98003741626
                      4,720.31                         0.00                          4,720.31              02/07          98003841672
                       207.50 -                        0.00                           207.50 -             02/08          021319MOADJ
                      5,537.30                         0.00                          5,537.30              02/08          98003941673
                       207.50 -                        0.00                           207.50 -             02/11          022019MOADJ
                  37,001.36                            0.00                      37,001.36                 02/11          98004241624
                  15,754.76                            0.00                      15,754.76                 02/11          98004241625
                  35,325.88                            0.00                      35,325.88                 02/11          98004241626
                  21,050.85                            0.00                      21,050.85                 02/12          98004341657
                  15,158.98                            0.00                      15,158.98                 02/13          98004441654
                  19,084.40                            0.00                      19,084.40                 02/14          98004541638
                         30.00 -                       0.00                             30.00 -            02/15          022219MOADJ
                  24,571.65                            0.00                      24,571.65                 02/15          98004641654
                103,226.55                             0.00                     103,226.55                 02/15          98004611127
                         40.00                         0.00                             40.00              02/17          021719MOADJ
                  13,009.36                            0.00                      13,009.36                 02/18          98004941607
                  20,707.66                            0.00                      20,707.66                 02/18          98004941608
                  21,026.51                            0.00                      21,026.51                 02/19          98005041627
                  14,508.15                            0.00                      14,508.15                 02/20          98005141631
                  22,430.18                            0.00                      22,430.18                 02/21          98005241664
                  22,493.91                            0.00                      22,493.91                 02/22          98005341667
                  42,857.93                            0.00                      42,857.93                 02/25          98005641631
                      8,354.55                         0.00                          8,354.55              02/25          98005641632
                  14,307.35                            0.00                      14,307.35                 02/25          98005641633
                         26.79                         0.00                             26.79              02/26          98005741638
                      1,538.71 -                       0.00                          1,538.71 -            02/27          98005841662
                       207.50 -                        0.00                           207.50 -             02/28          022819PA001
                      1,449.05 -                       0.00                          1,449.05 -            02/28          98005941658



                                                      SUMMARY OF DAILY DEPOSITS
                                                          ALL CARD TYPES

                        SALES                                             RETURNS
                      CHRGBK/ADJ                                          EXCL ADJ                              DAILY TOTAL
DATE            COUNT          AMOUNT                             COUNT                AMOUNT
02/04            126                    22,408.27                     3                 685.50
                   0                         0.00                     0                   0.00                                21,722.77
TOTAL RESERVE AMOUNT                     2,240.79                                TOTAL AFTER RESERVE                          19,481.98
02/05             32                     5,149.46                     2                  73.72
                   0                         0.00                     0                   0.00                                 5,075.74
TOTAL RESERVE AMOUNT                       514.94                                TOTAL AFTER RESERVE                           4,560.80
02/06             38                     4,971.68                     2                 398.34
                   0                         0.00                     0                   0.00                                 4,573.34
TOTAL RESERVE AMOUNT                       497.16                                TOTAL AFTER RESERVE                           4,076.18

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                                                  SUMMARY OF DAILY DEPOSITS
                                                      ALL CARD TYPES

                            SALES                                       RETURNS
                          CHRGBK/ADJ                                    EXCL ADJ                        DAILY TOTAL
    DATE            COUNT          AMOUNT                    COUNT                 AMOUNT
    02/07             32               4,927.81                   1                   207.50
                       0                   0.00                   0                     0.00                           4,720.31
    TOTAL RESERVE AMOUNT                 492.77                                TOTAL AFTER RESERVE                     4,227.54
    02/08             33               5,786.30                   1                   249.00
                       0                   0.00                   0                     0.00                           5,537.30
    TOTAL RESERVE AMOUNT                 578.61                                TOTAL AFTER RESERVE                     4,958.69
    02/10              0                   0.00                   0                     0.00
                       0                   0.00                   1 -                  40.00 -                            40.00 -
    02/11            608              88,819.17                   5                   737.17
                       0                   0.00                   0                     0.00                          88,082.00
    TOTAL RESERVE AMOUNT               8,881.88                                TOTAL AFTER RESERVE                    79,200.12
0




    02/12            142              22,569.69                   7                 1,518.84
                       0                   0.00                   0                     0.00                          21,050.85
    TOTAL RESERVE AMOUNT               2,256.96                                TOTAL AFTER RESERVE                    18,793.89
    02/13            106              16,486.98                   6                 1,328.00
                       0                   0.00                   1 -                 207.50 -                        14,951.48
    TOTAL RESERVE AMOUNT               1,648.69                                TOTAL AFTER RESERVE                    13,302.79
    02/14            128              19,761.61                   3                   677.21
                       0                   0.00                   0                     0.00                          19,084.40
    TOTAL RESERVE AMOUNT               1,976.14                                TOTAL AFTER RESERVE                    17,108.26
    02/15            885             129,287.25                   8                 1,489.05
                       0                   0.00                   0                     0.00                      127,798.20
    TOTAL RESERVE AMOUNT              12,928.71                                TOTAL AFTER RESERVE                114,869.49
    02/17              0                   0.00                   0                     0.00
                       0                   0.00                   1                    40.00                              40.00
    02/18            270              34,123.69                   2                   406.67
                       0                   0.00                   0                     0.00                          33,717.02
    TOTAL RESERVE AMOUNT               3,412.36                                TOTAL AFTER RESERVE                    30,304.66
    02/19            136              21,848.18                   4                   821.67
                       0                   0.00                   0                     0.00                          21,026.51
    TOTAL RESERVE AMOUNT              21,026.51                                TOTAL AFTER RESERVE                         0.00
    02/20            103              15,836.15                   6                 1,328.00
                       0                   0.00                   1 -                 207.50 -                        14,300.65
    TOTAL RESERVE AMOUNT              14,508.15                                TOTAL AFTER RESERVE                       207.50 -
    02/21            187              23,546.06                   6                 1,115.88
                       0                   0.00                   1 -                 207.50 -                        22,222.68
    TOTAL RESERVE AMOUNT              22,430.18                                TOTAL AFTER RESERVE                       207.50 -
    02/22            137              24,456.29                  10                 1,962.38
                       0                   0.00                   1 -                  30.00 -                        22,463.91
    TOTAL RESERVE AMOUNT              22,493.91                                TOTAL AFTER RESERVE                        30.00 -
    02/25            420              65,926.50                   2                   406.67
                       0                   0.00                   0                     0.00                          65,519.83
    TOTAL RESERVE AMOUNT              65,519.83                                TOTAL AFTER RESERVE                         0.00
    02/26             27                 870.00                   4                   843.21
                       0                   0.00                   0                     0.00                              26.79
    TOTAL RESERVE AMOUNT                  26.79                                TOTAL AFTER RESERVE                         0.00
    02/27              0                   0.00                   7                 1,538.71
                       0                   0.00                   0                     0.00                           1,538.71 -
    02/28              0                   0.00                   7                 1,449.05
                       0                   0.00                   1                   207.50 -                         1,656.55 -




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                                                   TAX GROSS REPORTABLE SALES BY TIN

              MONTH                        DESCRIPTION                                                                                                     TOTAL
              FEB                          Gross Reportable Sales - TIN #        \\\\\ 1582                                                             $506,775.09


                                           2019 YTD GROSS REPORTABLE SALES                                                                             $633,035.84

               TAX GROSS REPORTABLE SALES: Per IRC 6050W, the total dollar amount of aggregate reportable payment card and third party

               network transactions for each participating payee, without regard to any adjustments for credits, cash equivalents, discount amounts,

                                     fees, refunded amounts, or any other amounts per respective tax identification number.



                                                                BACKUP WITHHOLDING

              MONTH                        ENTITY                                                                                       AMOUNT WITHHELD
              FEB                          FED                                                                                                                $0.00


              YTD                          FED                                                                                                                $0.00


                                                                  LAST PAGE OF THIS STATEMENT




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                                      ÿ
                                      KLMNOP               QRSTUÿ;WOXYS          6LZO[NS[    ;P\X[SWLYS[         ]L[LM^L[     6N[TOXYS[        8LSÿ6LZO[NS
                                      >I_,._,I>.                   IJII                 ÿ            IJII                ÿ          IJII             IJII
                                      `#'ab!"cÿ,I>.           >Ic1d2J,.        e,0cd.>J.,     e-.1c11dJII             IJII          IJII      e2,/c>/-J.,
                                      f!%"ÿ,I>.           >Ic2I0c11/J01     >>cI/Ic2-2J,2      e>.c-d2J,1     >c02-c>,-J1,          IJII    >>cI->c>I.J.0

                                       ghijÿlmnoÿpÿqLrMXRMstÿuvwxÿ]LZOMS
                                      KLMNOP              QRSTUÿ;WOXYS          6LZO[NS[     ;P\X[SWLYS[          ]L[LM^L[    6N[TOXYS[        8LSÿ6LZO[NS
                                      I,_I-_,I>.                  IJII        >.c-0>J.0             IJII         ,c,-IJ1.           IJII        >.c-0>J.0
                                      I,_I2_,I>.                  IJII         -c2/IJ0I             IJII           2>-J.-           IJII         -c2/IJ0I
                                      I,_I/_,I>.                  IJII         -cI1/J>0             IJII           -.1J>/           IJII         -cI1/J>0
                                      I,_I1_,I>.                  IJII         -c,,1J2-             IJII           -.,J11           IJII         -c,,1J2-
                                      I,_I0_,I>.                  IJII         -c.20J/.             IJII           210J/>           IJII         -c.20J/.
                                      I,_>I_,I>.                  IJII             IJII             IJII             IJII           IJII             IJII
                                      I,_>>_,I>.                  IJII        1.c,IIJ>,             IJII         0c00>J00           IJII        1.c,IIJ>,
                                      I,_>,_,I>.                  IJII        >0c1.dJ0.             IJII         ,c,2/J./           IJII        >0c1.dJ0.
                                      I,_>d_,I>.                  IJII        >dc2>IJ,.             IJII         >c/-0J/.           IJII        >dc2>IJ,.
                                      I,_>-_,I>.                  IJII        >1c>I0J,/             IJII         >c.1/J>-           IJII        >1c>I0J,/
                                      I,_>2_,I>.                  IJII       >>-c0/.J-.             IJII        >,c.,0J1>           IJII       >>-c0/.J-.
                                      I,_>1_,I>.                  IJII             IJII            -IJII             IJII           IJII            -IJII
                                      I,_>0_,I>.                  IJII        dIcdI-J//             IJII         dc->,Jd/           IJII        dIcdI-J//
                                      I,_>._,I>.                  IJII             IJII             IJII        ,>cI,/J2>           IJII             IJII
                                      I,_,I_,I>.                  IJII             IJII             IJII        >-c2I0J>2           IJII             IJII
                                      I,_,>_,I>.                  IJII             IJII             IJII        ,,c-dIJ>0           IJII             IJII
                                      I,_,,_,I>.                  IJII             IJII             IJII        ,,c-.dJ.>           IJII             IJII
                                      I,_,2_,I>.                  IJII             IJII             IJII        /2c2>.J0d           IJII             IJII
                                      I,_,/_,I>.                  IJII             IJII             IJII            ,/J1.           IJII             IJII
                                      I,_,1_,I>.                  IJII        e>c2d0J1>             IJII             IJII           IJII        e>c2d0J1>
                                      I,_,0_,I>.                  IJII        e>c--.JI2          e,I1J2I             IJII           IJII        e>c/2/J22
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 From:            Jimmy Lai
 To:              Kenny Huang; Kaine Wen
 Subject:         FW: New Application: TAS
 Date:            Tuesday, June 25, 2019 3:54:02 AM


 Kaine/Kenny,


 There are a lot of things missing that we need to obtain before we can send to First Data for review
 and approval.




        The application was electronically signed with an adobe mouse. Not able to accept unless
        they use DocuSign or they physically sign the application. I will send you a electronic
        application for e-signature upon receipt of missing info
        The principle also missed a signature on last page under “clients business Principles,”
        signature 1. E-signed application will resolve
        Missing Customer Service Phone number and Contact Number for the Company.
        Missing Mobile number for Kenny Huang
        Business Address at 30 North Gould St Ste R Sheridan WY 82801 is a mail forwarding and
        violates Visa and Mastercard rules. We need their physical address. Please provide. Also,
        please provide a utility bill for the business address.
        Require Copy of Driver’s License
        Contract must be updated to say Convivence fee because they can’t charge a credit card fee.
        That is a surcharge fee which would mean they must be registered with Visa and MasterCard
        as a surcharge merchant. I will update




 Website:

        Website has a page which contains Integration setup for NMI, Authorize.net and other
        processing payment systems. This suggests they collect credit card payments and could be
        see as a payment service provided. Why would they need to show API integration for their
        Clients? This suggests third party processing.
        Contact page lists an address that is not a valid business address.
        Contact page doesn’t provide a customer service phone number
        Missing Terms and Conditions and refund policy




 Thank you,



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 John Thompson
 Associate Director of
 Risk & Underwriting




 office:
 toll free:
 fax:
 email:
 949. 419. 8400 x 1110
 800. 662. 8448
 949. 861. 6201
 jfthompson@nationalmerchant.com
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 communication is strictly prohibited. If you have received this communication in error, please
 immediately notify us by return e-mail, and destroy this communication and all copies thereof,
 including all attachments.

 Go Green! Please, consider the environment before printing this email.




 -----Original Message-----
 From: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
 Sent: Wednesday, June 19, 2019 6:18 PM
 To: John F. Thompson <jfthompson@NationalMerchant.com>
 Subject: New Application: TAS

 John,

 Attached is the complete application pkg.
 Please review and let me know if you need anything.

 Thanks,

 Jimmy




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 Your message is ready to be sent with the following file or link attachments:

 TAS 2019 NMC Application
 TAS Agreement revised
 Manager Managed LLC -- TAS 2019 LLC
 TAS 2019 LLC - Voided Check
 TAS 2019 LLC AOO


 Note: To protect against computer viruses, e-mail programs may prevent sending or receiving
 certain types of file attachments. Check your e-mail security settings to determine how attachments
 are handled.




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From:                Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
Sent:                Monday, July 08, 2019 11:57 PM
To:                  Kaine Wen
Subject:             FW: TAS Bank Statement
Attachments:         Application.pdf


Kaine,

See below

From: John F. Thompson <jfthompson@NationalMerchant.com>
Sent: Monday, July 8, 2019 3:28 PM
To: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
Subject: RE: TAS Bank Statement

Review and approval of the account must be minimum of Interchange and 199Bps.

Also, they should have their customer service team answering calls during normal business hours.

I updated the location address to his home address and they Wyoming address is the mailing address.

In addition, the website is now down and is no longer active.

Please advise.

Thank you,




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               John Thompson
                 Associate Director of
                 Risk & Underwriting


office:      949. 419. 8400 x 1110             The information contained in this transmission may contain privileged and
toll free:   800. 662. 8448                    confidential information. It is intended only for the use of the addressee. If the
fax:         949. 861. 6201                    person actually receiving this communication or any other reader of the
                                               communication is not the named recipient, or the employee or agent responsible to
email:       jfthompson@nationalmerchant.com
                                               deliver it to the recipient, any use, dissemination, distribution or copying of this
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                                               error, please immediately notify us by return e-mail, and destroy this communication
                                               and all copies thereof, including all attachments.


                                               Go Green! Please, consider the environment before printing this email.




From: Jimmy Lai <jimmy.lai@swiftpaymentsinc.com>
Sent: Monday, June 24, 2019 12:04 PM
To: John F. Thompson <jfthompson@NationalMerchant.com>
Subject: Fwd: TAS Bank Statement



Get Outlook for Android


From: Kenny Huang <tas2019llc@gmail.com>
Sent: Wednesday, June 19, 2019 7:43:36 PM
To: Jimmy Lai
Subject: TAS Bank Statement




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                                                                                                     4004




TAS 2019 LLC                                           Trusted Account Services
                    Ste R                 Arcadia
                                          Sheridan             CA 82801
                                                               WY 91006   trustedaccountservices.com

30 N Gould
2614       St Ste R
      El Capitan    Ave                   Sheridan
                                          Arcadia              WY 82801 tas2019llc@gmail.com
                                                               CA 91006
8663636383     (866) 363-6383                   8364                Kenny Huang
      0057
                                                                 WY                03/22/2019




Trust account services




                                  TAS 2019 LLC




          {{*SignHere_es_:Signer2:Signature}}          Owner              {{Dte_es_:signer2:date}}

                                     Kenny Huang


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                                    #:4257
                                      25000.00
                                      200.00                                  100
                                      1500.00
                                                                              100




                                                       10    90
                                                       10    90
                                 100




                100




{{*SignHere_es_:Signer1:Signature}}     Shih-Hao Lai              {{Dte_es_:signer1:date}}



            HSBC
            122240861
                      0413




             NMI




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                Int+ 199bp            0.2500
                                                        Int+ 150bp   0.2500
                Int+ 199bp            0.2500                                                Int+ 150bp
                                                   0.2500
                Int+ 199bp            0.2500
                Int+ 199bp            0.2500
                                                                            NMI
                                                                                        20.00                        100.00
                                                                                        0.2500                       0.2500
                                                                                                                     10.00




                                                                                                                         250.00
                              10.00
                              500.00                                                        0.2000                       0.00
                              0.2500
                                                    0                                       0.30                         20.00
                              0.25                                                          35.00                        30.00
                                                                                            20.00                        198.00
                                               0.00                                         20.00                         0.00


3.96                          69.95                                     20.00


       575.00                              75.00                             0.10                                        4.95
                                                                     0.25




                      Kenny Huang                                                   Owner                  100   /1982
                                                    Arcadia                                 CA           91006    8364
                             0041        CA-8/2022 tas2019llc@gmail.com




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                                          Kenny Huang

                       {{*SignHere_es_:Signer2:Signature}}                          {{Dte_es_:signer2:date}}




{{*SignHere_es_:Signer2:Signature}}    Owner                          Kenny Huang     {{Dte_es_:signer2:date}}




 {{*SignHere_es_:Signer2:Signature}}                         Kenny Huang               {{Dte_es_:signer2:date}}




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                          EXHIBIT 28
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 From:               Jimmy Lai
 To:                 Kaine Wen
 Subject:            TAS - REVISED APP
 Date:               Tuesday, July 09, 2019 1:14:41 AM
 Attachments:        Application-Revised.pdf



 Kaine,

 Please execute with Wet Signature.

 Thanks,



 Jimmy Lai
 President
 Swift Payments
 Office: (949) 596-7550
 Mobile: (949) 302-3248



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                                       #:4263


                                                                                                     4004




TAS 2019 LLC                                           Trusted Account Services
                    Ste R                 Arcadia
                                          Sheridan             CA 82801
                                                               WY 91006   trustedaccountservices.com

30 N Gould
2614       St Ste R
      El Capitan    Ave                   Sheridan
                                          Arcadia              WY 82801 tas2019llc@gmail.com
                                                               CA 91006
8663636383     (866) 363-6383                   8364                Kenny Huang
      0057
                                                                 WY                03/22/2019




Trust account services




                                  TAS 2019 LLC




          {{*SignHere_es_:Signer2:Signature}}          Owner              {{Dte_es_:signer2:date}}

                                     Kenny Huang


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                                                                                                 Page 137
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                                    #:4264
                                      25000.00
                                      200.00                                  100
                                      1500.00
                                                                              100




                                                       10    90
                                                       10    90
                                 100




                100




{{*SignHere_es_:Signer1:Signature}}     Shih-Hao Lai              {{Dte_es_:signer1:date}}



            HSBC
            122240861
                      0413




             NMI




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                Int+ 199bp            0.2500
                                                        Int+ 150bp   0.2500
                Int+ 199bp            0.2500                                                Int+ 150bp
                                                   0.2500
                Int+ 199bp            0.2500
                Int+ 199bp            0.2500
                                                                            NMI
                                                                                        20.00                        100.00
                                                                                        0.2500                       0.2500
                                                                                                                     10.00




                                                                                                                         250.00
                              10.00
                              500.00                                                        0.2000                       0.00
                              0.2500
                                                    0                                       0.30                         20.00
                              0.25                                                          35.00                        30.00
                                                                                            20.00                        198.00
                                               0.00                                         20.00                         0.00


3.96                          69.95                                     20.00


       575.00                              75.00                             0.10                                        4.95
                                                                     0.25




                      Kenny Huang                                                   Owner                  100   /1982
                                                    Arcadia                                 CA           91006    8364
                             0041        CA-8/2022 tas2019llc@gmail.com




                                                                                                                 EXHIBIT 28
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                                          Kenny Huang

                       {{*SignHere_es_:Signer2:Signature}}                          {{Dte_es_:signer2:date}}




{{*SignHere_es_:Signer2:Signature}}    Owner                          Kenny Huang     {{Dte_es_:signer2:date}}




 {{*SignHere_es_:Signer2:Signature}}                         Kenny Huang               {{Dte_es_:signer2:date}}




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                                  #:4269


                                                       NMC
            MERCHANTACCOUNTCHANGEREQUESTFORM
                  Please sign and return to National Merchant Center (NMC) Fax#: (949) 861-6201
   Current Business Information
   MID# 5101            6333                                       Legal Business Name TAS 2019 LLC
                                                                                            ---~--==-=----------
   DBA Trusted Account Services                 0 \VI1Cr N a m e : - - - - - - - - - - - - - - - - - - - - -
   Website: https://trustedaccountservices.com/ Email Address:   tas2019llc@gmail.com
   Address:                                                         City/State/Zip: Arcadia, CA 91006

   Home Phone:(_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Work Phone:( _ _ _)_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Descriptor T AS - Student Loan


   Account Update (Provide updated information below)
   DBA Change:
   Business Address Change:
   Business Mailing Adrs Change:
   Email Address Change:
   Website URL Change:
   Business Phone # Change:
   Descriptor Change                      T AS - Student Loan


   Change of Bank Account Information
   Bank Name                              HSBC Bank USA
                                          ~=---------------------------------
   Name on Bank Account                   T:..:A...:.::Sc.:2=0-'1-=9...cLc=.L=C_________________________
   Account Number:                                          0413
   Routing Number:                         122240861
   Reason                                 \Update for Adjustments, Fees, Chargebacks, Reserves, etc

                              FAX A COPY OF

  If you wish to change the bank account, which is receiving your electronic deposits and debits via ACH, please complete and sign this form and attach
   a pre-printed voided check to confirm the account number. Note: This clumge only affects Visa, Mustercard, Discm,er and American Express
  Opt-Blue. Ifyou have a "Direct American Express" account, you will need to contact American Expl'ess directly at 800-528-5200, to update your
  bank information.
  The undersigned is authorized to sign on behalf of the entity named above. By signing below, the undersigned agrees to be bound by the terms and
  conditions ofNMC Merchant Agreement and acknowledges that he/she has read this agreement and kept a copy of this agreement for his/her files. In
   addition, the undersigned verifies that all of the information contained hereon this form is true, complete and correct to the best of their knowledge.
  Please allow 5-7 business days to process the change.

   By signing below, I expressly authorize NMC or its affiliates to fulfill the above request in connection with my merchant account
   and/or payment gateway account. A
   _ _ _ _ _ _ _ _ ___,__I_!,!_____                                      Kenny Huang                                        . :c9/c. : 9cc:/2: .:0c.. :1_=.9_ __
   OWNER/OFFICER SIGNATURE                                                PRINT NAME                                        DATE


   Internal Office Use Only                                                                   Approved                  D       Declined
  Was a Starter Check or Bank Letter Provided?                                          ~     Yes                       0       No
   Legal name/DBA match the Application/Mere                                            ~Yes                            0      No




                                                                                                                   NMC - 8:19-cv-01998 JVS - 1737

                                                                                                                                                        EXHIBIT 29
                                                                                                                                                         Page 142
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                                  #:4270




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                                                                             Page 143
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                                  #:4271


                                                        NMC
             MERCHANTACCOUNTCHANGEREQUESTFORM
                   Please sign and 1·eturn to National Merchant Center (NMC) Fax#: (949) 861-6201
   Current Business Information
   MID#   5101            6333                  Legal Business Name TAS 2019 LLC
                                                                    -----~=-----------
   DBA Trusted Account Services                 Owner Name:
                                                              ------------------~
   Website: https://trustedaccountservices.com/ Email Address:      tas2019llc@gmail.com
   Address:                                     City/State/Zip: Arcadia, CA 91006

   Home Phone: ' - - - - ' - - - - - - - - - - - - - -                      Phone:( _ _ _)_ _ _ _ _ _ _ _ _ _ _ _ _ _ __

   Descriptor   TAS - Student Loan

   Account Update (Provide updated information below)
   DBA Change:
   Business Address Change:
   Business Mailing Adrs Change:
   Email Address Change:
   Website URL Change:
   Business Phone# Change:
   Descriptor Change                       TAS - Student Loan

   Change of Bank Account Information
   Bank Name                               HSBC Bank USA---------------------------
   Name on Bank Account                    TAS 2019 LLC
                                           -----------------------------------
   Account Number:                              3327
   Routing Number:                          122240861
   Reason                                  !Update for Deposits and Refunds Only

                              FAXACOPY

   If you wish to change the bank account, which is receiving your electronic deposits and debits via ACH, please complete and sign this form and attach
    a pre-printed voided check to confinn the account number. Note: This clumge only affects Visa, Mustacanl, Discover und AmeriC(lll Express
   Opt-Blue. If you have a "Direct American Express" accom1t, you will need to co11tact America11 E.Ypress directly at 800-528-5200, to update yom·
   bank informllti011.
   The undersigned is authorized to sign on behalf of the entity named above. By signing below, the undersigned agrees to be bound by the terms and
   conditions ofNMC Merchant Agreement and acknowledges that he/she has read this agreement and kept a copy of this agreement for his/her files. In
    addition, the undersigned verifies that all of the information contained hereon this form is true, complete and correct to the best of their knowledge.
   Please allow 5-7 business days to process the change.

   By signing below, l expressly authorize NMC or its affiliates to fulfill the above request in connection with my merchant account
   and/or payment gateway account. / ~
                .,...,'"-?(v.,-q                                          Kenny Huang                                        9/9/2019
   -------------~-~-----
   0 W NER/ 0 FF ICE R SIGNATURE                                           PRINT NAME
                                                                                                                             ---------
                                                                                                                             DATE


   Internal Office Use Only                                                              Eli   Approved                  D    Declined
   Was a Sta11er Check or Bank Letter Provided?                                          ~     Yes                       0    No
   Legal name/DBA match the Application/Merchant Account?                                      Yes                       0    No
                                                                  I



                                                                                                                   NMC - 8:19-cv-01998 JVS - 1739

                                                                                                                                              EXHIBIT 29
                                                                                                                                               Page 144
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                                  #:4272




               SeptemttBr 9, 2019
               TAS 2019 LLC

               Kenny Muong



               A.rcadia1 CA 91DG6



               To Whom          Concern:
                   BOOve            est:abHshed a   HSBC

               Atcount:              3327

               ABA:            122240861




                                                            NMC - 8:19-cv-01998 JVS - 1740

                                                                            EXHIBIT 29
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    Business Entity Detail - Wyoming Secretary of State                                          Page 1 of 2




    Business Center                                                             Online Services Search



      DETAIL                                     RETURN TO YOUR SEARCH          FILE YOUR ANNUAL REPORT


          TAS 2019 LLC

        This detail reflects the current data for the filing in the system.                              Print
          Name
          TAS 2019 LLC
          Filing ID                                        Status                              Fictitious Name
          2019-000846927                                   Active
          Type                                             Sub Status
          Limited Liability Company - Domestic             Current
                                                           Initial Filing
                                                           03/20/2019

          Standing - Tax
                                                           Term of Duration
          Good                                             Perpetual
          Standing - RA
                                                           Formed In
          Good                                             Wyoming
          Standing - Other
          Good
                                                           Principal Office
                                                           30 N Gould St
                                                           Ste R
                                                           Sheridan, WY 82801
                                                           USA

          Mailing Address
          30 N Gould St
          Ste R
          Sheridan, WY 82801
          USA



         Additional Details

          Registered Agent:                                Latest AR/Year
          Registered Agents Inc.                           AR Exempt
          30 N Gould St Ste R                              License Tax Paid
          Sheridan, WY 82801 USA



         History




    https://wyobiz.wy.gov/business/FilingDetails.aspx?eFNum=054255229084190056176031... 9/19/2019
                                                                           NMC - 8:19-cv-01998 JVS - 1785
                                                                                                           EXHIBIT 30
                                                                                                            Page 146
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    Business Entity Detail - Wyoming Secretary of State                                         Page 2 of 2




         Initial Filing - See Filing ID                                             Date: 03/20/2019

         Public Notes
       No Public Notes Found...
         Parties

               (Organizer)                                                      Organization: Registered Agents Inc.
                             Address: 30 N Gould St Ste R, Sheridan, WY 82801




    https://wyobiz.wy.gov/business/FilingDetails.aspx?eFNum=054255229084190056176031... 9/19/2019
                                                                           NMC - 8:19-cv-01998 JVS - 1786
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                                                                                                         Page 147
